       Case 3:21-cv-00034-EMC Document 86 Filed 11/02/22 Page 1 of 3



 1   JOHN H. SCOTT, 72578
     SCOTT LAW FIRM
 2   1388 Sutter Street, Suite 715
 3   San Francisco, California 94109
     Telephone: (415) 561-9601
 4   Facsimile: (415) 561-9609
     E-mail: john@scottlawfirm.net
 5
     CARLETON L. BRIGGS, 117361
 6   LAW OFFICES OF CARLETON L. BRIGGS
 7   740 Fourth Street, Suite 202
     Santa Rosa, California 95404-4421
 8   Telephone: (707) 523-2251
     Facsimile: (707) 523-2253
 9   E-mail: clbriggs@sonic.net
10   Attorneys for Plaintiffs GEORGE E. BARICH
11   and LAURIE ALDERMAN

12                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
13
      GEORGE E. BARICH and LAURIE                           Case 3:21-cv-00034-EMC
14
      ALDERMAN.
15                                                          PLAINTIFFS’ SUR-REPLY BRIEF
                Plaintiffs,                                 IN RESPONSE TO DEFENDANT’S
16                                                          ORAL ARGUMENT RE THE
      vs.                                                   BROWN ACT
17
      CITY OF COTATI and JOHN A.
18
      DELL’OSSO,
19                                                          Complaint filed: January 5, 2021
                Defendants.                                 Trial date: January 30, 2023
20
21
               This Sur-Reply is in response to a newly asserted argument made for the first time at the
22
     October 27, 2022 hearing on Defendants’ Motion for Summary Judgment or Partial Summary
23
     Judgment, which argument had not been raised in their Motion or their Reply.
24
               At the hearing, counsel for moving party defendants argued that the Brown Act prohibited
25
     Mayor Dell’Osso from making the accommodation requested by Mr. Barich, per the ADA, of
26
     moving the meeting from the Police Department Community Room to the City Council Chambers,
27
     where the public address system connected to the proffered electronic hearing-assist devices
28
                                                        1
            PLAINTIFFS’ SUR-REPLY BRIEF IN RESPONSE TO DEFENDANT’S ORAL ARGUMENT RE THE BROWN ACT
       Case 3:21-cv-00034-EMC Document 86 Filed 11/02/22 Page 2 of 3



 1   would have enabled him to participate in spite of his hearing disability. Counsel quoted from the

 2   Brown Act and represented to the Court that the Brown Act required 24 hours’ public notice in

 3   order to move the meeting.

 4          However, counsel’s quote from the Brown Act was out of context and misleading, in that

 5   the Brown Act specifically requires compliance with the ADA. The statute is clear and

 6   unambiguous:

 7   Government Code § 54953.2
 8   All meetings of a legislative body of a local agency that are open and public shall meet the
     protections and prohibitions contained in Section 202 of the Americans with Disabilities Act of 1990
 9   (42 U.S.C. Sec. 12132), and the federal rules and regulations adopted in implementation thereof.

10   (Added by Stats. 2002, Ch. 300, Sec. 5. Effective January 1, 2003.)
11   Government Code § 54954.2
12   (a) (1) At least 72 hours before a regular meeting, the legislative body of the local agency, or its
     designee, shall post an agenda containing a brief general description of each item of business to be
13   transacted or discussed at the meeting, including items to be discussed in closed session. A brief
     general description of an item generally need not exceed 20 words. The agenda shall specify the
14   time and location of the regular meeting and shall be posted in a location that is freely accessible to
     members of the public and on the local agency’s Internet Web site, if the local agency has one. If
15   requested, the agenda shall be made available in appropriate alternative formats to persons with a
16   disability, as required by Section 202 of the Americans with Disabilities Act of 1990 (42 U.S.C.
     Sec. 12132), and the federal rules and regulations adopted in implementation thereof. The agenda
17   shall include information regarding how, to whom, and when a request for disability-related
     modification or accommodation, including auxiliary aids or services, may be made by a person with
18   a disability who requires a modification or accommodation in order to participate in the public
     meeting.
19
20   (Amended by Stats. 2016, Ch. 265, Sec. 1. (AB 2257) Effective January 1, 2017.)
            Thus, pursuant to Section 54953.2, all meetings of a legislative body, other than closed
21
     session meetings or parts of meetings involving a closed session, are required to be held in a
22
     location and conducted in a manner that complies with the Americans with Disabilities Act of
23
     1990. The agenda shall include information regarding how, to whom, and when a request for
24
     disability-related modification or accommodation, including auxiliary aids or services, may be
25
     made by a person with a disability who requires a modification or accommodation in order to
26
     participate in the meeting. § 54954.2.
27
28
                                                       2
         PLAINTIFFS’ SUR-REPLY BRIEF IN RESPONSE TO DEFENDANT’S ORAL ARGUMENT RE THE BROWN ACT
       Case 3:21-cv-00034-EMC Document 86 Filed 11/02/22 Page 3 of 3



 1                                           Respectfully submitted,
 2   Dated: November 1, 2022                 SCOTT LAW FIRM
 3
 4
                                             By: /s/John Houston Scott
 5                                               Attorneys for Plaintiffs
                                                 GEORGE E. BARICH
 6                                               and LAURIE ALDERMAN
 7
 8
     Dated: November 1, 2022                 LAW OFFICES OF CARLETON L. BRIGGS
 9
10
11                                           By: /s/Carleton L. Briggs
                                                 Attorneys for Plaintiffs
12                                               GEORGE E. BARICH
                                                 and LAURIE ALDERMAN
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                 3
        PLAINTIFFS’ SUR-REPLY BRIEF IN RESPONSE TO DEFENDANT’S ORAL ARGUMENT RE THE BROWN ACT
